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UNITED STATES DISTRICT COURT
FOR THE DISTRICT GF DELAWARE

 

PFIZER INC.

Plaintiffs, Civil Action No. 06-89-.UF

TEVA PHARMACEUTICALS USA and
TEVA PHARMACEUTICAL INDUSTRIES LTD.

STIPULATION OF DISMISSAL

Defendants.

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Plaintiff Pflzer Inc and Defendants Teva Phannaceuticals USA, Inc. and Teva
Pharmaceutical lndustries Ltd. have agreed to settle all claims arising out of the pleadings in this
action on terms including entry of the following Stipulation and Order of Dismissal, in
accordance with Fed. R. Civ. P. 4l(a)(l)(ii).

Accordingly, it is stipulated by the parties that:

l. The above-captioned action and all claims therein are dismissed Without prejudice
pursuant to the stipulation of the parties.

2. Any Protective Order entered by the Court in this action shall remain in full force and
effect notwithstanding dismissal of this action.

3. The parties waive any right of appeal from this Order.

4. Each party shall bear its own costs, expenses and attorneys’ fees in connection with this

action.

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SETI'LEMBNT AGREEMENT
Daced: 'V'>V- 20 , 2006 Dated: LIL_, 2006

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